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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEVADA
                                          ***


UNITED STATES OF AMERICA,

                Plaintiff,                             02:07-CR-00080-CRW-PAL

v.
                                                                ORDER
MICHAEL JENKINS,

               Defendant.



              The court adopts the briefing schedule outlined in the parties’ joint status report.

              A final hearing is scheduled to be held at 9:00 a.m. on July 31, 2012, at the U.S.

Courthouse in Las Vegas. The parties shall file proposed decisions on or before July 26, 2012.

              IT IS SO ORDERED.

              Dated this 7th day of March, 2012.




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